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16
17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19
     United States of America,                             No. CR-18-422-PHX-SMB
20
                          Plaintiff,
21                                                     UNITED STATES’ MOTION TO
              v.                                       EXTEND TIME FOR FILING ITS
22                                                         RESPONSE (Doc. 531)

23   Michael Lacey, et al.,

24                        Defendants.

25         The United States moves for an unopposed extension of time to file its response to
26   Defendant Spears’ Motion for Immediate Discovery Regarding Government’s Abuse of
27   Grand Jury and Trial Subpoenas to Obtain Defense Lawyer Bank Accounts and for
28   Potential Sanctions. (Doc. 531.) The current deadline is May 1, 2019. The United States’
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 1   requests the deadline be extended one week, to May 8, 2019. Counsel for the United States
 2   has conferred with Defendant Spear’s counsel—Bruce Feder—who indicated he has no
 3   objection to this brief extension.
 4          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
 5   an order based thereon.
 6          Respectfully submitted this 25th day of April, 2019.
 7                                            ELIZABETH A. STRANGE
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 8                                            District of Arizona
 9                                            s/ Kevin Rapp
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      Case 2:18-cr-00422-DJH Document 548 Filed 04/25/19 Page 3 of 3




 1
                                  CERTIFICATE OF SERVICE
 2
            I hereby certify that on this date, April 25, 2019, I transmitted the foregoing under-
 3   seal document for filing to the Clerk of the United States District Court and sent a copy via
     electronic mail to: Paul J. Cambria Jr. Esq. and Erin e. McCambpell, Esq., Lipsitz Green
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